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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
       Plaintiff,                               )
                                                )
v.                                              )   No. 4:10CR510 HEA
                                                )
GHALIB ALTAF SHAHJAMALUDDIN,                    )
                                                )
       Defendant.                               )

                                            ORDER

       IT IS HEREBY ORDERED that the sentencing hearing previously set in this matter for

Wednesday, July 13, 2011, is reset to Thursday, July 21, 2011, at 10:30 a.m. in the courtroom of

the undersigned.

       Dated this 8th day of July, 2011.




                                            ________________________________
                                               HENRY EDWARD AUTREY
                                             UNITED STATES DISTRICT JUDGE
